
FAY, Circuit Judge:
Ricky Wright appeals his conviction and eighty-four month sentence for knowingly possessing a firearm and ammunition that affected interstate commerce after having been convicted of a felony. Wright presents a case of first impression as to whether section 4A1.2(k) of the United States Sentencing Guidelines applies to Florida’s community control program. Wright also challenges the constitutionality of his conviction by alleging that Congress exceeded its authority in passing the law under the Commerce Clause. After careful consideration, we find that section 4A1.2(k) applies to Florida’s community control program. We also find that Wright’s conviction is constitutionally sound. Accordingly, Wright has presented no reversible error and we affirm the decision of the district court.
I. FACTS
A federal grand jury indicted Ricky Wright on two counts of knowingly possessing a firearm and ammunition that affected interstate commerce after having been convicted of a felony, in violation of 18 U.S.C. § 922(g)(1).1 Wright initially pled not guilty, but later changed his plea and pled guilty to one count of the indictment in exchange for dismissal of the second count.
During the plea hearing, the government proffered the following facts without *711objection: A confidential source working with the ATF and DEA contacted Wright and discussed purchasing a firearm from him.2 Later that day, the source met with Wright and another male in Miami, Florida. At that time, the source purchased a nine millimeter pistol from the second male for $450.00. The purchase took place in Wright’s presence and at his direction. Four days later, the source again contacted Wright and discussed purchasing another firearm from him. Wright sent his girlfriend to sell a .40 caliber handgun and a magazine with ammunition to the confidential informant in exchange for $2,840.00. At the time of both transactions, Wright had been convicted of multiple felonies. A record cheek of both firearms revealed that they had been manufactured outside of Florida.
Before sentencing, Wright challenged the Presentence Investigation Report’s calculation of his criminal history under the United States Sentencing Guidelines. Wright’s relevant criminal history is undisputed. Wright pled guilty to conspiracy to commit armed robbery and was sentenced to 120 days in county jail, followed by two years community control and three years probation. After serving his jail time, Wright was released from custody and his community control period commenced. Wright subsequently violated the, terms of his community control by missing curfew on three separate occasions. As a result, Wright’s community control was revoked and he was sentenced to 366 days in state prison.
Under the Guidelines, three criminal history points are assessed for a prior sentence of imprisonment exceeding one year and one month. See U.S.S.G. § 4Al.l(a). Whereas only two criminal history points are assessed if the prior sentence is between sixty days and thirteen months. See U.S.S.G. § 4Al.l(b). In determining the applicable length of a sentence, the Guidelines state: “In the cases of a prior revocation of probation, parole, supervised release, special parole, or mandatory release, add the original term of imprisonment to any term of imprisonment imposed upon revocation. The resulting total is used to compute the criminal history points for § 4Al.l(a),(b), or (c), as applicable.” U.S.S.G. § 4A1.2(k)(l).
The district court held that revocation of community control was governed by § 4A1.2(k) and added the 366-day sentence to the original 120-day sentence. This calculation pushed Wright past the thirteen month threshold that carried the additional criminal history point, resulting in an advisory sentencing range of 84-105 months instead of 70-87 months. Finding that a sentence at the low end of the guideline range was reasonable, the district court sentenced Wright to eighty-four months in prison.
Wright now appeals the determination that revocation of community control is governed by § 4A1.2(k) and seeks a recalculation of his criminal history. Wright does not dispute that he violated the terms of his community control. He concedes that the only question is whether community control qualifies as a form of supervision covered by § 4A1.2(k).
II. DISCUSSION
A U.S.S.G. § JjAl.2(k)
We review “a district court’s interpretation of the Guidelines de novo and its factual findings for clear error.” Unit*712ed States v. Valnor, 451 F.3d 744, 750 (11th Cir.2006). Wright argues that the district court erred in finding that revocation of community control falls under § 4A1.2(k)(2)(B), which covers the revocation of “probation, parole, supervised release, special parole, or mandatory release.”3 Specifically, Wright argues that since community control is not an enumerated form of supervision under § 4A1.2(k)(2)(B), the period of imprisonment associated with his violation of community control should not count towards his criminal history. As such, Wright asserts that the district court should have assessed him two criminal history points based on his initial 120-day sentence instead of the three criminal history points derived from adding the 120-day and 366-day sentences together. If Wright prevails, his corresponding Guideline range would be 70-87 months instead of 84-105 months.
In support of his point, Wright contends that the language of the Guidelines should be given its plain and ordinary meaning. See United States v. Tham, 118 F.3d 1501, 1506 (11th Cir.1997). Wright asserts that the rule of lenity supports his argument, contending that, “[t]he policy of lenity means that the Court will not interpret a federal criminal statute so as to increase the penalty that it places on an individual when such an interpretation can be based on no more than a guess as to what Congress intended.” Ladner v. United States, 358 U.S. 169, 178, 79 S.Ct. 209, 214, 3 L.Ed.2d 199 (1958). Wright argues that the rule of lenity applies to the Sentencing Guidelines. See United States v. Jeter, 329 F.3d 1229, 1230 (11th Cir.2003) (per curiam).
The government responds that the district court properly calculated Wright’s criminal history. The government argues that the commentary to U.S.S.G. §§ 4A1.1 and 4A1.2 indicates that the forms of supervision listed are not exhaustive; therefore, sentences imposed upon revocation for other forms of supervision are counted. The government also argues that the rule of lenity is inapplicable in this case because the Sentencing Commission’s intent is clear. See United States v. Camacho-Ibarquen, 410 F.3d 1307, 1315 (11th Cir.2005).
This court has not squarely decided the issue of whether the imposition of a sentence after a defendant violates the terms of his community control results in the application of § 4A1.2(k). Wright is correct that the Guidelines do not use the term community control. However, the comments to § 4A1.1 state that § 4A1.2(k) applies to “revocation of probation, parole, or a similar form, of release.” U.S.S.G. § 4A1.1, cmt. n.l (emphasis added). Similarly, application note 11 explains that § 4A1.2(k) “covers revocations of probation and other conditional sentences.” U.S.S.G. § 4A1.2, cmt. n.ll (emphasis added).
“[C]ommentary in the Guidelines Manuel that interprets or explains a guideline is authoritative unless it violates the Constitution or a federal statute, or is inconsistent with, or a plainly erroneous reading of, that guideline.” Stinson v. United States, 508 U.S. 36, 38, 113 S.Ct. 1913, 1915, 123 L.Ed.2d 598 (1993). Wright has not asserted that the Guidelines or their commentary violate the Con*713stitution or any federal statute. At oral argument, Wright’s counsel argued for the first time that the commentary simply refers back to the finite list of five types of release enumerated in § 4A1.2(k) without expanding them.
Counsel juxtaposed the language in the applicable commentary to the language in § 4A1.2(c), which states, “[sentences for the following prior offenses and offenses similar to them, by whatever name they are known....” U.S.S.G. § 4A1.2(c)(l). Arguing that § 4A1.2(c) illustrates Congress’s ability to draft a section with expansive language, counsel asserts that the lack of the catch-all provision in § 4A1.2(k) indicates Congress’s wish to limit the application of § 4A1.2(k) to the specific forms of release listed.
We find this argument meritless. More importantly, it was never made in Wright’s brief. To give it serious consideration now violates a long standing rule that issues and contentions not raised in the initial brief are deemed abandoned. See United States v. Curtis, 380 F.3d 1308, 1310 (11th Cir.2004). As such, we treat the commentary as authoritative and find that the enumerated forms of supervision are not exhaustive. Because the Sentencing Commission’s intent is clear, we need not address the rule of lenity. Camacho-Ibarquen, 410 F.3d at 1315. Therefore, the central issue is whether community control is a similar form of release subject to § 4A1.2(k).

Similar Form of Release

The government argues that community control is a similar form of release to probation. The government relies on Florida law to inform its interpretation. Chapter 948 of the Florida Statutes, entitled “Probation and Community Control,” defines probation as “a form of community supervision requiring specified contacts with parole and probation officers.” Fla. Stat. § 948.001(5). The same statute defines community control as “a form of intensive, supervised custody in the community, including surveillance on weekends and holidays, administered by officers with restricted caseloads.” Fla. Stat. § 948.001(2). The statute explains that “[cjommunity control is an individualized program in which the freedom of an offender is restricted within the community, home, or noninstitutional residential placement and specific sanctions are imposed and enforced.” Id.
Florida considers community control to be a hybrid concept, “less restrictive than prison, but more severe than probation.” Bacon v. State, 620 So.2d 1084, 1086 (Fla. 1st DCA 1993). It is undisputed that Florida recognizes probation and community control as separate and distinct punishments. See State v. Mestas, 507 So.2d 587, 588 (Fla.1987); Zack v. State, 753 So.2d 9, 25 (Fla.2000). However, the question before us is not whether they are the same punishment. Rather, it is whether they are similar forms of release.
Florida considers both probation and community control to be discretionary alternatives to imprisonment. See Fla. Stat. § 948.011 (“when the defendant’s offense is punishable by both fine and imprisonment, the trial court may, in its discretion, impose a fine upon him or her and place him or her on probation or into community control as an alternative to imprisonment.”). Both are conditional forms of release subject to revocation. See Fla. Stat. § 948.06. Florida law lumps together “probation, community control, parole, [and] conditional release” as “postprison release supervision.” See Fla. Stat. § 394.927(2).
*714However, state law merely informs our analysis of what is, ultimately, a federal issue. The Sentencing Guidelines must be interpreted in accordance with federal law, even when the Guidelines refer to some event occurring in state court. See United States v. Glover, 154 F.3d 1291, 1294 (11th Cir.1998). The Guidelines apply to prior convictions from all fifty states, in addition to federal, foreign, tribal and military courts. U.S.S.G. § 4A1.1 cmt. backg’d. As such, there is inevitably variation in the terminology utilized by the individual jurisdictions. Therefore, we look to the substance of the punishment, rather than its title.
This circuit has yet to interpret the term community control. However, other circuits’ decisions provide some guidance. Although the issue was uncontested, the Sixth Circuit agreed that “a community corrections sentence is sufficiently analogous to probation to warrant the application of § 4A1.2(k)(l).”4 United States v. Wheeler, 330 F.3d 407, 411, n. 5 (6th Cir.2003). When faced with an uncategorized term, the Seventh Circuit compared the purpose of probation and the purpose of Illinois’s “conditional discharge” and found they were sufficiency analogous to warrant the application of the Guidelines.5 United States v. Caputo, 978 F.2d 972, 976-77 (7th Cir.1992).
Under the Sentencing Guidelines, probation is a “sentence in and of itself.” U.S.S.G. § 5B1.1 intro, cmt. Probation may be used as an alternative to incarceration, provided that the conditions imposed serve the statutory purposes of sentencing. See id. Those statutory purposes include “promoting respect for the law, providing just punishment for the offense, achieving general deterrence, and protecting the public from further crimes by the defendant.” Id. Likewise, Florida’s community control “contains rules, requirements, conditions, and programs that are designed to encourage noncriminal functional behavior and promote the rehabilitation of the offender and the protection of the community.” See Fla. Stat. § 948.01(3)(b).
We have held that the primary purpose of probation is “rehabilitation, the accomplishment of which will serve to protect the public.” United States v. Gaskell, 134 F.3d 1039, 1045 (11th Cir.1998) (quoting United States v. Engelhom, 122 F.3d 508, 512 (8th Cir.1997)). Probation allows the government to oversee an offender’s rehabilitation while giving federal courts the authority to incarcerate the offender if he or she violates any of the stated conditions. See id. We find that Florida’s community control program serves a similar purpose.
In comparing community control to probation, both are alternative, community-based methods to punish offenders in lieu of incarceration. Both are discretionary *715forms of release subject to revocation. Both release the offender into the community subject to stated conditions and require extensive government supervision to ensure compliance. Both contain conditions specifically designed to rehabilitate the offender and promote respect for the law while simultaneously protecting the public.
We recognize that probation and community control have some • minor differences, but examination of the content of both reveals strong similarities in their purpose and application. Based on those similarities, we find that they are similar forms of release as contemplated by the Sentencing Guidelines. Therefore, we find that community control is sufficiently analogous to probation to warrant the application of U.S.S.G. § 4A1.2(k).

B. 18 U.S.C. § 922(g)

Wright argues that his conviction is unconstitutional and must be vacated because his possession of a firearm and ammunition did not substantially affect interstate commerce. He notes that every subsection of § 922 limits the statute to interstate or foreign commerce, except for § 922(g), which extends the statute to the possession of a firearm that is “in or affecting commerce.” 18 U.S.C. § 922(g). Wright asserts that “Congress has intended to reach purely intrastate commerce by this section of the statute,” which is beyond its power derived from the Commerce Clause and therefore, unconstitutional. Wright concedes that he did not raise this argument below but argues that plain error relieves him of that burden.
Generally, we review de novo the constitutionality of a statute because it is a question of law. See United States v. Cespedes, 151 F.3d 1329, 1331 (11th Cir.1998). However, we review Wright’s challenge regarding the constitutionality of § 922(g) for plain error because he raises it for the first time on appeal. See United States v. Jones, 289 F.3d 1260, 1265 (11th Cir.2002). Plain error occurs if (1) there was error, (2) that was plain, (3) that affected the defendant’s substantial rights, and (4) that seriously affected the “fairness, integrity, or public reputation of judicial proceedings.” Id.
The government responds that Wright fails to demonstrate plain error because this court has already held that 18 U.S.C. § 922(g)(1) is not constitutionally invalid under the Commerce Clause. United States v. Nichols, 124 F.3d 1265, 1266 (11th Cir.1997). We agree. Nichols rejected an identical constitutional challenge to § 922(g)(1) that the term “commerce” is not defined as “interstate or foreign commerce.” 124 F.3d at 1266. In making that determination, we reviewed the Supreme Court’s holding in Scarborough v. United States, 431 U.S. 563, 571, 97 S.Ct. 1963, 1967, 52 L.Ed.2d 582 (1977). Specifically, we noted that the passage “ ‘in or affecting commerce’ indicates a Congressional intent to assert its full Commerce Clause power.” Id. We also noted in United States v. McAllister, that “§ 922(g)(1) is not an unconstitutional exercise of Congress’s power under the Commerce Clause.” 77 F.3d 387, 389 (11th Cir.1996). Accordingly, we reject Wright’s challenge to the constitutionality of § 922(g).
Wright further contends that § 922(g) is unconstitutional as applied because mere possession of a firearm and ammunition does not substantially affect interstate commerce. However, § 922(g) only requires that the government prove some “minimal nexus” to interstate commerce, which it may accomplish by “demonstrating] that the firearm possessed traveled in interstate commerce.” United States v. Scott, 263 F.3d 1270, 1274 (11th *716Cir.2001). Here, the government established that the firearms involved in Wright’s offense were manufactured outside of Florida, the state in which the offense took place. Thus, the firearms necessarily traveled in interstate commerce and therefore satisfied the minimal nexus requirement. Accordingly, we find no merit in Wright’s assertion that § 922(g) is unconstitutional as applied to him.
III. CONCLUSION
For the foregoing reasons, the judgment of the district court is,
AFFIRMED.

. "It shall be unlawful for any person (1) who has been convicted in any court of, a crime punishable by imprisonment for a term exceeding one year; ... to ship or transport in interstate or foreign commerce, or possess in or affecting commerce, any firearm or ammunition; or to receive any firearm or ammunition which has been shipped or transported in interstate or foreign commerce.” 18 U.S.C. § 922(g).


. "ATF” refers to the Bureau of Alcohol, Tobacco, Firearms and Explosives. "DEA” is the Drug Enforcement Administration.


. The district court only referenced the general provision, § 4A1.2(k), in making its determination. It is unclear why Wright cites § 4A1.2(k)(2)(B), which alters the time constraints for calculating criminal history based upon the revocation of the enumerated sentences. Wright provides no discussion about how the time constraint would impact our findings.


. In Tennessee, "community corrections” is a community based alternative to incarceration. Tenn.Code Ann. § 40-36-103. The Community Corrections Act "promoted accountability of offenders to their local community; filled gaps in the local correctional system through the development of a range of sanctions and services; reduced the number of nonviolent felony offenders in correctional institutions and jail; and provided 'opportunities for offenders demonstrating special needs to receive services which enhance their ability to provide for their families and become contributing members of their community.’ ” State v. Cummings, 868 S.W.2d 661, 667 (Tenn.Crim.App.1992) (quoting Tenn.Code Ann. § 40-36-104).


. In Illinois, conditional discharge is a discretionary alternative to imprisonment. See People v. Butchek, 22 Ill.App.3d 391, 317 N.E.2d 148, 156 (1974). It is a conditional and revocable release without probationary supervision but under such conditions as may be imposed by the court. 730 111. Comp. Stat. 5/5-1-4.

